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 6                      IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Darlene Yazzie, et al.,                          No. CV-20-08222-PCT-GMS
10                  Plaintiffs,                       ORDER
11   v.
12   Katie Hobbs,
13                  Defendant.
14
15         Pending before this Court is Darlene Yazzie, Caroline Begay, Leslie Begay, Irene
16   Roy, Donna Williams, and Alfred McRoye (collectively, “Plaintiffs”)’ Motion for
17   Preliminary Injunction (Doc. 9) and Defendant Katie Hobbs (“Defendant”)’ Motion in
18   Limine (Doc. 51). For the reasons stated below, Plaintiffs’ Motion for Preliminary
19   Injunction is denied and Defendant’s Motion in Limine is denied.
20                                       BACKGROUND
21         On the Navajo Nation reservation in Arizona, several variables make voting by mail
22   difficult. Most Navajo Nation residents do not have access to standard mail service,
23   meaning most do not have access to home delivery and must travel to retrieve their mail.
24   (Doc. 9-3 at 15.) Lack of home delivery, combined with the lengthy distance many Navajo
25   Nation residents have to travel to reach a post office and socioeconomic factors that make
26   travel burdensome, makes accessing the postal service challenging for many Navajo Nation
27   residents. Id. 15–16.
28         In Arizona, voters can opt to vote by mail. Arizona law provides that vote by mail
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 1   ballots “must be received by the county recorder or other officer in charge of elections or
 2   deposited at any polling place in the county no later than 7:00 p.m. on election day”
 3   (“Receipt Deadline”). A.R.S. § 16-548(a). Plaintiffs, whom are registered voters and
 4   enrolled members of the Navajo Nation living on-reservation, oppose the Receipt Deadline
 5   because they argue that the postal service and other circumstances on the reservation makes
 6   it harder for Navajo Nation residents to meet the Deadline. (Doc. 9.)
 7           Plaintiffs filed their Complaint on August 26, 2020. The Complaint asserts that the
 8   Receipt Deadline violates Section 2 of the Voting Rights Act, the equal protection clause
 9   of the United States Constitution, and Article 2, Section 21 of the Arizona Constitution.
10   (Doc. 1.) On September 2, 2020, Plaintiffs filed a Motion for Preliminary Injunction
11   seeking that Defendant count vote by mail ballots sent by Navajo Nation members living
12   on-reservation that are postmarked on or before Election Day (“Postmark Deadline”).
13   (Doc. 9.) Defendant subsequently filed a Motion in Limine, objecting to a declaration
14   submitted with Plaintiffs’ Motion for Preliminary Injunction and to testimony Plaintiffs
15   intended to offer at the hearing on Plaintiffs’ Motion. (Doc. 51.) On September 22, 2020,
16   this Court held an evidentiary hearing on Plaintiffs’ Motion.
17                                          DISCUSSION
18      I.      Legal Standard
19           A preliminary injunction is “an extraordinary and drastic remedy, one that should
20   not be granted unless the movant, by a clear showing, carries the burden of persuasion.”
21   Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012). A plaintiff seeking a preliminary
22   injunction must show that (1) it is likely to succeed on the merits; (2) it is likely to suffer
23   irreparable harm without an injunction; (3) the balance of equities tips in its favor; and
24   (4) an injunction is in the public interest. Winter v. Natural Res. Def. Council, Inc., 555
25   U.S. 7, 20 (2008). “A preliminary injunction may also be appropriate if a movant raises
26   ‘serious questions going to the merits’ and the ‘balance of hardships . . . tips sharply
27   towards’ it, as long as the second and third Winter factors are satisfied.” Disney Enter.,
28   Inc. v. VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017).


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 1            Further, there is a heightened burden where a plaintiff seeks a mandatory
 2   preliminary injunction, which should not be granted “unless the facts and law clearly favor
 3   the plaintiff.” Comm. of Cent. Am. Refugees v. I.N.S., 795 F.2d 1434, 1441 (9th Cir. 1986)
 4   (internal citation omitted); see also Dahl v. HEM Pharms. Corp., 7 F.3d 1399, 1403 (9th
 5   Cir. 1993) (“[M]andatory preliminary relief is subject to heightened scrutiny.”).
 6      II.      Analysis
 7            In support of their request for a preliminary injunction, Plaintiffs claim the Receipt
 8   Deadline violates section 2 of the Voting Rights Act and their rights under the federal and
 9   state constitutions. Plaintiffs must show they are likely to succeed on these claims or at
10   least raise serious questions going to their merits to proceed in the preliminary injunction
11   analysis. For the following reasons, the Court finds Plaintiffs have not met this burden.
12            A. Section 2 of the Voting Rights Act of 1965
13            Section 2(a) of the Voting Rights Act prohibits states from imposing any voting
14   qualifications that “results in a denial or abridgement of the right of any citizen of the
15   United States to vote on account of race or color.” 42 U.S.C. § 1973(a). “A violation . . .
16   is established if, based on the totality of the circumstances, it is shown that the political
17   processes leading to nomination or election in the State or political subdivision are not
18   equally open to participation” by racial minorities, in that they “have less opportunity than
19   other members of the electorate to participate in the political process and to elect
20   representatives of their choice.” 52 U.S.C. § 10301(b). A Section 2 violation can “be
21   established by proof of discriminatory results alone.” Chisom v. Roemer, 501 U.S. 380,
22   404 (1991).
23            In evaluating a vote-denial challenge, such as the case here, the Ninth Circuit
24   employs a two-step process. Democratic Nat’l Comm. v. Hobbs, 948 F.3d 989, 1012 (9th
25   Cir. 2020). The first question is whether the “challenged standard, practice or procedure
26   results in a disparate burden on members of the protected class.” Id. “[P]roof of [a] causal
27   connection between the challenged voting practice and a prohibited discriminatory result
28   is crucial.” Gonzalez v. Arizona, 677 F.3d 383, 405 (9th Cir. 2012) (internal quotation


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 1   marks omitted). A “bare statistical showing” of a disparate impact on a racial minority,
 2   alone, is insufficient to show a disparate burden. See Smith v. Salt River Project Agric.
 3   Improvement & Power Dist., 109 F.3d 586, 595 (9th Cir. 1997).
 4           If a court finds that the challenged practice results in a disparate burden, the next
 5   step is to ask whether, under the totality of the circumstances, “there is a relationship
 6   between the challenged standard, practice, or procedure, on the one hand, and social and
 7   historical conditions on the other.” Hobbs, 948 F.3d at 1012 (internal quotation marks
 8   omitted). This step is not required if a court finds that the challenged voting practices do
 9   not impose a disparate burden on minority voters. See Ohio Democratic Party v. Husted,
10   834 F.3d 620, 638 (6th Cir. 2016).
11           Plaintiffs argue the Receipt Deadline results in a disparate burden because the
12   deadline leads to disenfranchisement, Navajo voters have less time to consider their ballots
13   than non-Native voters, and Navajo voters have less access to vote by mail in general
14   because of socioeconomic factors. (Doc. 9 at 19–20.) To make this showing,1 Plaintiffs
15   compared mail delivery times from five locations on the Navajo Nation reservation to their
16   respective county recorder’s office with mail delivery times from off-reservation Arizona
17   cities, including Scottsdale, Flagstaff, Holbrook, and St. John’s, to their county recorder’s
18   office. (Doc. 9-3 at 32, 53-6 at 6–7.) According to Plaintiffs’ study, Certified First-Class
19   mail sent from the off-reservation cities arrived within one to two days while mail from the
20   reservation locations took between four and ten days. Plaintiffs then compared this data
21   with the time frame Arizonans have to send in their vote by mail ballots to meet the Receipt
22   Deadline. Arizona starts mailing out ballots to voters on the permanent early voting list on
23   October 7, 2020. (Doc. 53-3 at 1.) The last day Arizona voters can request a vote by mail
24
     1
       In addition to her Motion in Limine, Defendant objected to other evidence presented at
25   the September 22 hearing. As this Court is denying Plaintiffs’ Motion for Preliminary
     Injunction and finds that Plaintiffs’ evidence, as conditionally admitted, does not change
26   the outcome, it admits the evidence offered at the hearing. As for the Motion in Limine,
     in the end Plaintiffs’ proposed expert principally testified to facts that he had observed or
27   supervised. Plaintiffs acknowledged that he offered no opinion testimony. Thus, there
     seems to be no necessity at present to certify the witness as an expert pursuant to Fed. R.
28   Ev. 702 for the purpose of offering opinions. Thus, the Motion in Limine is denied without
     prejudice to its later reassertion if indicated.

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 1   ballot is October 23, 2020. (Doc. 9-3 at 27.) With this data, Plaintiffs estimated that a
 2   Scottsdale voter on the permanent early voting list will have 25 days to consider their ballot
 3   and meet the Receipt Deadline while a Dennehotso voter, where mail may take 10 days to
 4   deliver, only has seven days to consider their ballot. (Doc. 53-3 at 1.) Plaintiffs further
 5   showed that a Scottsdale voter that requests a ballot on October 23 has nine days to consider
 6   their ballot, while a Dennehotso voter does not have enough time to mail their ballot at all.
 7   Id. at 2.
 8           Plaintiffs also compared the number of ballot drop-off locations per square mile in
 9   Navajo Nation versus in Scottsdale, Flagstaff, Holbrook, and St. John’s. (Doc. 53-5 at 1.)
10   Plaintiffs showed great discrepancies in this comparison. For instance, in Scottsdale there
11   is one election day polling location per 13.14 square miles whereas in Navajo Nation there
12   is only one location per 306 square miles.
13           In addition, Plaintiffs argue that several other factors make it difficult for Navajo
14   members living on-reservation to meet the Receipt Deadline. These factors include that it
15   is difficult for many Navajo Nation members to access the postal service because of lack
16   of home mail delivery, the lengthy distance it takes to get to the post office on-reservation,
17   and the fact that many Navajo Nation members have insufficient funds to travel to a post
18   office. (Doc. 9-3 at 16.) Additionally, post offices are generally not open for as many
19   hours on-reservation as they are off-reservation. (Doc. 53-6 at 7.)
20           Taken together, Plaintiffs’ showing fails to demonstrate that the Receipt Deadline
21   results in a disparate burden on Navajo Nation members living on-reservation. Plaintiffs
22   present no evidence that Navajo voters’ ballots are disproportionately thrown out because
23   of the Receipt Deadline. As Arizona’s Receipt Deadline has been in law for 23 years, the
24   Court is entitled to expect such evidence. Ariz. Laws 1997, 2nd Spec. Sess. Ch. 5 (S.B.
25   1003). Additionally, the evidence Plaintiffs do present does not show whether the Receipt
26   Deadline disproportionately impacts Navajo voters as a protected class. Plaintiffs only
27   compare mail delivery times and distance to ballot drop-off locations on the reservation to
28   cities, not to other rural areas of Arizona. Therefore, it is not clear whether Plaintiffs’


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 1   evidence shows disparities as to Navajo voters, a protected class, versus rural voters, a non-
 2   protected class.
 3          To the extent Plaintiffs’ evidence can be construed as showing disparities faced by
 4   Navajo voters, Plaintiffs still have not shown that the Receipt Deadline results in a disparate
 5   burden. Plaintiffs’ evidence, if accurate, shows that some Navajo voters have, at worst,
 6   only seven days to consider their ballots and still send them in on time. This showing,
 7   however, does not take into consideration that mailing a ballot is not the only way to submit
 8   a vote by mail ballot. Navajo voters may drop their ballot off at a county recorder’s office,
 9   ballot drop-box, in-person early voting location, or a voting location on election day. (Doc.
10   48-1 at 48.) Therefore, even if a Navajo voter waits until October 23 to request a ballot
11   and does not have time to mail the ballot in, that Navajo voter still has several options to
12   get their ballot in on time. In addition, Navajo voters do not necessarily have less time to
13   consider their vote than other voters. Before ballots are sent out, Arizona sends a voter
14   education guide to voters with statements from each candidate, which allows voters to
15   begin considering their vote early. Id. at 51. Navajo voters can also utilize the alternative
16   options for returning ballots to optimize their time to consider their ballots.
17          As Navajo voters have access to several voting options that allow them to turn their
18   ballots in later than the return posting of their ballot allows, Plaintiffs have not shown a
19   disparate burden. Plaintiffs’ showing is far weaker than the showings made in successful
20   and unsuccessful Section 2 lawsuits. Compare Democratic Nat’l Comm., 948 F.3d at 1014
21   (finding a disparate burden where Native American, Hispanic, and African American
22   voters were twice as likely to have their out-of-precinct votes not counted), and League of
23   Women Voters of N. Carolina v. North Carolina, 769 F.3d 224, 245 (4th Cir. 2014) (finding
24   a disparate burden where the state eliminated a voting option that black voters used
25   disproportionately more than white voters), with Gonzalez, 677 F.3d at 406, 443 (finding
26   no disparate burden, despite statistical evidence that Latino voters were overrepresented in
27   uncounted ballots, because no expert testified to the causal connection between the law at
28   issue and Latino voting rates).


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 1           Plaintiffs argue the alternative forms to mailing a ballot are not adequate remedies
 2   because there are far less early voting locations, ballot drop boxes, and election day polling
 3   locations per square mile on the Navajo Nation reservation than other Arizona cities.
 4   Again, Plaintiffs only compare Navajo Nation, a rural area, to cities, making it unclear
 5   whether the distance Navajo voters must travel to access these alternative forms on the
 6   reservation is any more severe than other rural parts of Arizona. Regardless, although
 7   access to the postal service and these alternative forms may not be as simple for Navajo
 8   voters as it is for Scottsdale voters, the Voting Rights Act is not intended to “sweep away
 9   all election rules that result in a disparity in the convenience of voting.” Lee v. Va. State
10   Bd. of Elections, 843 F.3d 592, 601 (4th Cir. 2016). Finding a Section 2 violation for every
11   disparate inconvenience would mean, for example, that every polling place “would need
12   to be precisely located such that no group had to spend more time traveling to vote than
13   did any other.” Id. Although Plaintiffs certainly show that meeting the Receipt Deadline
14   is more inconvenient for Navajo voters than it is for certain voters, for the reasons already
15   discussed Plaintiffs do not make an adequate showing of a disparate burden.
16           This lawsuit is about whether a deadline for receiving ballots is unlawful. Many of
17   the issues Navajo voters face in accessing the postal service are not a result of the Receipt
18   Deadline and will not be remedied no matter when the deadline to receive ballots is. As
19   for any time pressure Plaintiffs uniquely face because of the Receipt Deadline, Arizona has
20   measures in place to alleviate that pressure.          Consequently, Plaintiffs have not
21   demonstrated they are likely to succeed on this claim nor have they raised serious questions
22   as to its merits. As Plaintiffs do not make the requisite showing as to the first step in the
23   Section 2 analysis, the Court does not address the totality of the circumstances test.2
24   2
       Plaintiffs’ last-minute request for a preliminary injunction also raises serious Purcell
     concerns. In Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006), the Court cautioned against
25   injunctions right before elections, noting that court orders affecting elections “can
     themselves result in voter confusion and consequent incentive to remain away from the
26   polls.” The Court reaffirmed this principle in Republican Nat’l Comm. v. Democratic Nat’l
     Comm., 140 S. Ct. 1205, 1207 (2020) where the Court stated that it has “repeatedly
27   emphasized that lower federal courts should ordinarily not alter the election rules on the
     eve of an election.” Here, Plaintiffs waited less than three months before the general
28   election to challenge a law that has been in place for 23 years. Defendant presented
     evidence that a change to the Receipt Deadline for only a subset of the Arizona population

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 1             B. Equal Protection under the Fourteenth Amendment
 2             “The Equal Protection Clause of the Fourteenth Amendment commands that no
 3   State shall ‘deny to any person within its jurisdiction the equal protection of the laws,’
 4   which is essentially a direction that all persons similarly situated should be treated alike.”
 5   Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985) (quoting Plyler v. Doe, 457
 6   U.S. 202, 216 (1982)). A plaintiff alleging denial of equal protection under 42 U.S.C.
 7   § 1983 based on race must plead intentional or purposeful unlawful discrimination.
 8   Monteiro v. Tempe Union High Sch. Dist., 158 F.3d 1022, 1026 (9th Cir. 1998). Evidence
 9   of discriminatory impact is relevant to this inquiry, but this evidence alone is insufficient
10   except in the rare circumstance where the discriminatory impact is “unexplainable on
11   grounds other than race.” Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252,
12   266 (1977); see, e.g., Gomillion v. Lightfoot, 364 U.S. 339 (1960), Yick Wo v. Hopkins, 118
13   U.S. 356 (1886).
14             Plaintiffs argue the Receipt Deadline violates the Fourteenth Amendment because
15   the deadline, in conjunction with Arizona’s history of discrimination against Navajo voters,
16   limits voting by mail opportunities for Plaintiffs. (Doc. 9 at 21.) However, Plaintiffs have
17   provided no evidence on the reasons why Arizona enacted the Receipt Deadline.
18   Furthermore, as already discussed, Plaintiffs have provided no evidence that ballots from
19   Navajo voters living on-reservation are disproportionately rejected as compared to other
20   rural voters and have not made a strong showing that Plaintiffs are likely to be
21   disproportionately impacted by the Receipt Deadline. As Plaintiffs fall far below the
22   showing of discriminatory intent required by Arlington Heights, Plaintiffs have not
23   demonstrated that they will likely succeed on this claim or raised serious questions as to its
24   merits.
25
26   will cause voter confusion about which deadline applies to them, complicate ballot
     processing, and clash with the mandated timelines for other election laws. (Doc. 48-1 at
27   39–43.) They also presented evidence that the remedy sought would not be feasible and
     would, itself, be unfair to other voters. Because of the disruption Plaintiffs’ proposed
28   remedy would likely cause and the timing of Plaintiffs’ suit, Purcell further counsels
     against the issuance of a preliminary injunction.

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 1          C. Free and Equal Elections Clause under the Arizona Constitution
 2          Article 2, Section 21 of the Arizona Constitution states that “elections shall be free
 3   and equal, and no power, civil or military, shall at any time interfere to prevent the free
 4   exercise of the right of suffrage.” In interpreting what protections Arizona’s framers
 5   intended by this clause, the Arizona Court of Appeals considered how other states interpret
 6   their similar constitutional provisions. Chavez v. Brewer, 222 Ariz. 309, 319, 214 P.3d
 7   397, 407 (Ct. App. 2009). The court noted that other states generally interpret such clauses
 8   to mean that a “free and equal” election is one where “the voter is not prevented from
 9   casting a ballot by intimidation or threat of violence, or any other influence that would
10   deter the voter from exercising free will, and in which each vote is given the same weight
11   as every other ballot.” Id. Based on this review, the court did not delineate the entire scope
12   of what Arizona’s election clause covers but did conclude that the “free and equal” clause
13   is implicated when votes are not properly counted. Id. at 320, 408.
14          Plaintiffs argue Defendant violated Article 2, Section 21 because “Plaintiffs do not
15   have equal access to [voting by mail] procedures.” (Doc. 9 at 22.) However, Plaintiffs
16   have not presented evidence that aligns with the precedent from Arizona courts concerning
17   the interpretation of Article 2, Section 21 of the Arizona Constitution. Plaintiffs have
18   provided no evidence that, because of the Receipt Deadline, Navajo voters are unable to
19   cast a vote because of intimidation or lack of free will. Furthermore, Plaintiffs have
20   provided no evidence that Defendant selectively enforces the Receipt Deadline. As a
21   result, Plaintiffs will not likely succeed on the merits of this claim nor have Plaintiffs raised
22   serious questions as to the merits.
23                                          CONCLUSION
24          Because Plaintiffs have failed to establish that they are likely to succeed on any of
25   their claims, or even raise serious questions going to the merits of their claims, the Court
26   need not consider the existence of an irreparable injury. Germon v. Times Mirror Co., 520
27   F.2d 786, 788 (9th Cir. 1975).
28          IT IS HEREBY ORDERED that Plaintiffs Darlene Yazzie, Caroline Begay, Leslie


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 1   Begay, Irene Roy, Donna Williams, and Alfred McRoye’s Motion for Preliminary
 2   Injunction (Doc. 9.) is DENIED.
 3          IT IS FURTHER ORDERED that Defendant Katie Hobbs’ Motion in Limine
 4   (Doc. 51) is DENIED without prejudice.
 5          IT IS FURTHER ORDERED that the Court will hold a telephonic status
 6   conference October 9, 2020 at 2:30 p.m. Mountain Standard Time (Pacific Daylight
 7   Time) to discuss the timeline for responses to Defendant’s Motion to Dismiss. Defendant’s
 8   counsel shall set up a call-in number on or before Noon, October 6, 2020 and disseminate
 9   it to all parties, including the Court.
10          Dated this 25th day of September, 2020.
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